 Fill in this information to identify your case:

 Debtor 1                   Arthur S. Hoffman
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Kimberly A. Hoffman
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number            2:20-bk-04911-BKM
 (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          Aaron & Elizabeth Linder                                Last 4 digits of account number                                                                     Unknown
              Nonpriority Creditor's Name
              c/o Knowles Gallant                                     When was the debt incurred?
              6400 Powers Ferry Rd. Ste 350
              Atlanta, GA 30339
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                          Contingent
                  Debtor 2 only
                                                                          Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 31
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              Case 2:20-bk-04911-BKM                            Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                                      Desc
                                                                Main Document    Page 1 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.2      Abrazo Arrowhead Campus                                    Last 4 digits of account number                                                        $1,140.00
          Nonpriority Creditor's Name
          18701 North 67th Ave.                                      When was the debt incurred?
          Glendale, AZ 85308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



          Air Commercial Real Estate
 4.3      Association                                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          CM Glendale Arrowhead                                      When was the debt incurred?
          17505 N. 79th Ave. Ste 109
          Glendale, AZ 85308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4      Alcoa Billing Center                                       Last 4 digits of account number                                                          $600.00
          Nonpriority Creditor's Name
          PO BOX 740023                                              When was the debt incurred?
          Cincinnati, OH 45274
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 2 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.5      Ally Financial                                             Last 4 digits of account number       1935                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                                                            Opened 02/11 Last Active
          Po Box 380901                                              When was the debt incurred?           5/15/13
          Bloomington, MN 55438
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile


 4.6      America First Credit U                                     Last 4 digits of account number       6789                                               $857.00
          Nonpriority Creditor's Name
                                                                                                           Opened 10/06 Last Active
                                                                     When was the debt incurred?           3/03/20
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Check Credit Or Line Of Credit


 4.7      American First Credit Union                                Last 4 digits of account number       0525                                             $3,328.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 05/16 Last Active
          Po Box 9199                                                When was the debt incurred?           3/03/20
          Ogden, UT 84409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 3 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.8      American First Credit Union                                Last 4 digits of account number       0525                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 05/16 Last Active
          Po Box 9199                                                When was the debt incurred?           4/28/18
          Ogden, UT 84409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile


 4.9      American First Credit Union                                Last 4 digits of account number       0515                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 05/13 Last Active
          Po Box 9199                                                When was the debt incurred?           10/30/15
          Ogden, UT 84409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Line Secured


 4.1
 0        American First Credit Union                                Last 4 digits of account number       0531                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 05/11 Last Active
          Po Box 9199                                                When was the debt incurred?           5/26/15
          Ogden, UT 84409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 4 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.1
 1        American First Credit Union                                Last 4 digits of account number       0319                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 03/12 Last Active
          Po Box 9199                                                When was the debt incurred?           10/31/14
          Ogden, UT 84409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile


 4.1
 2        American First Credit Union                                Last 4 digits of account number       0204                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 2/04/13 Last Active
          Po Box 9199                                                When was the debt incurred?           5/15/13
          Ogden, UT 84409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Line Secured


 4.1
 3        American First Credit Union                                Last 4 digits of account number       0501                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 05/09 Last Active
          Po Box 9199                                                When was the debt incurred?           5/31/11
          Ogden, UT 84409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 5 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.1
 4        American First Credit Union                                Last 4 digits of account number       0414                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 04/09 Last Active
          Po Box 9199                                                When was the debt incurred?           5/23/11
          Ogden, UT 84409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile


 4.1
 5        Ameriprise Financial I                                     Last 4 digits of account number       8829                                          $953,000.00
          Nonpriority Creditor's Name
                                                                                                           Opened 11/16 Last Active
          901 Third Ave. South                                       When was the debt incurred?           12/14/17
          Minneapolis, MN 55402
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured


 4.1
 6        Amex                                                       Last 4 digits of account number       2273                                             $2,684.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                                                        Opened 01/04 Last Active
          Po Box 981540                                              When was the debt incurred?           6/11/19
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 6 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.1
 7        Amex                                                       Last 4 digits of account number       9833                                                   $0.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                                                        Opened 1/05/13 Last Active
          Po Box 981540                                              When was the debt incurred?           09/14
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 8        Bank of America                                            Last 4 digits of account number       7978                                           $49,348.00
          Nonpriority Creditor's Name
          4909 Savarese Circle                                                                             Opened 03/04 Last Active
          Fl1-908-01-50                                              When was the debt incurred?           3/14/20
          Tampa, FL 33634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 9        Bank of America                                            Last 4 digits of account number       2658                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 7/23/14 Last Active
          Nc4-105-03-14 Pob 26012                                    When was the debt incurred?           2/01/17
          Greensboro, NC 27420
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 7 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.2
 0        Bank of America                                            Last 4 digits of account number       0747                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 02/17 Last Active
          Nc4-105-03-14 Pob 26012                                    When was the debt incurred?           01/19
          Greensboro, NC 27420
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile


 4.2
 1        Bank Of The West                                           Last 4 digits of account number       6787                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 12/11 Last Active
          180 Montgomery Street 25th Floor                           When was the debt incurred?           07/14
          San Francisco, CA 94104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile


 4.2
 2        Barclays Bank Delaware                                     Last 4 digits of account number       8680                                             $2,350.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 08/16 Last Active
          Po Box 8801                                                When was the debt incurred?           05/19
          Wilmington, DE 19899
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 8 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.2
 3        Barclays Bank Delaware                                     Last 4 digits of account number       5489                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 8/08/03 Last Active
          Po Box 8801                                                When was the debt incurred?           8/23/10
          Wilmington, DE 19899
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.2
 4        Capital One                                                Last 4 digits of account number       2930                                             $2,744.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 01/09 Last Active
          Po Box 30285                                               When was the debt incurred?           01/20
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.2
 5        Capital One                                                Last 4 digits of account number       0438                                             $1,561.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 05/15 Last Active
          Po Box 30285                                               When was the debt incurred?           01/20
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 9 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 9 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.2
 6        Capital One Auto Finance                                   Last 4 digits of account number       1001                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 01/08 Last Active
          Po Box 30285                                               When was the debt incurred?           05/09
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.2
 7        Chase Card Services                                        Last 4 digits of account number       5907                                           $21,300.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 04/17 Last Active
          Po Box 15298                                               When was the debt incurred?           3/14/20
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.2
 8        Chase Card Services                                        Last 4 digits of account number       0188                                             $1,671.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 06/11 Last Active
          Po Box 15298                                               When was the debt incurred?           04/20
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 10 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.2
 9        Chase Card Services                                        Last 4 digits of account number       5427                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 09/06 Last Active
          Po Box 15298                                               When was the debt incurred?           12/03/10
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.3
 0        Citibank                                                   Last 4 digits of account number       8172                                           $21,855.00
          Nonpriority Creditor's Name
          Citicorp Credit Srvs/Centralized Bk                                                              Opened 7/01/94 Last Active
          dept                                                       When was the debt incurred?           4/01/20
          Po Box 790034
          St Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.3
 1        Citibank                                                   Last 4 digits of account number       8698                                             $1,630.00
          Nonpriority Creditor's Name
          Citicorp Credit Srvs/Centralized Bk                                                              Opened 05/18 Last Active
          dept                                                       When was the debt incurred?           03/20
          Po Box 790034
          St Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 11 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.3
 2        CM Glendale Arrowhead                                      Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          4425 Jamboree Road, Suite 250                              When was the debt incurred?
          Newport Beach, CA 92660
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.3
 3        Comenity Bank/Ann Taylor                                   Last 4 digits of account number       5121                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                                                            Opened 10/17 Last Active
          Po Box 182125                                              When was the debt incurred?           05/18
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.3
 4        Comenity Bank/Ann Taylor                                   Last 4 digits of account number       6135                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                                                            Opened 08/16 Last Active
          Po Box 182125                                              When was the debt incurred?           9/21/17
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 12 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 12 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.3
 5        Comenity Bank/Buckle                                       Last 4 digits of account number       2611                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 03/14 Last Active
          Po Box 182125                                              When was the debt incurred?           12/01/19
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.3
 6        Comenity Bank/Pier 1                                       Last 4 digits of account number       2524                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 1/14/19 Last Active
          Po Box 182125                                              When was the debt incurred?           06/19
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.3
 7        Comenity Bank/Victoria Secret                              Last 4 digits of account number       3448                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 08/14 Last Active
          Pob 182125                                                 When was the debt incurred?           10/10/19
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 13 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 13 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.3
 8        Credit One Bank                                            Last 4 digits of account number       1331                                             $1,273.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                      Opened 06/16 Last Active
          Po Box 98873                                               When was the debt incurred?           3/03/20
          Las Vegas, NV 89193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.3
 9        Credit One Bank                                            Last 4 digits of account number       6761                                               $665.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                      Opened 01/19 Last Active
          Po Box 98873                                               When was the debt incurred?           03/20
          Las Vegas, NV 89193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.4
 0        Credit One Bank                                            Last 4 digits of account number       2922                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Department                                                                      Opened 01/19 Last Active
          Po Box 98873                                               When was the debt incurred?           10/10/19
          Las Vegas, NV 89193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 14 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 14 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.4
 1        CT Corporation                                             Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          330 N. Brand Blvd. Ste 700                                 When was the debt incurred?
          Glendale, CA 91203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 2        ECMC                                                       Last 4 digits of account number       9186                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 7/18/11 Last Active
          111 Washington Ave South, Ste                              When was the debt incurred?           12/31/12
          1400
          Minneapolis, MN 55401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.4
 3        ECMC                                                       Last 4 digits of account number       0751                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 7/18/11 Last Active
          111 Washington Ave South, Ste                              When was the debt incurred?           9/21/11
          1400
          Minneapolis, MN 55401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 15 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.4
 4        Emergency Group of Arizona                                 Last 4 digits of account number                                                          $623.00
          Nonpriority Creditor's Name
          P.O. Box 740023                                            When was the debt incurred?
          Cincinnati, OH 45274
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 5        FC Marketplace, LLC                                        Last 4 digits of account number                                                     $335,000.00
          Nonpriority Creditor's Name
          85 2nd Street, Ste 400                                     When was the debt incurred?
          San Francisco, CA 94105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 6        Fifth Third Bank                                           Last 4 digits of account number       8037                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 11/14 Last Active
          Maildrop RCSB3E 1830 E Paris Ave                           When was the debt incurred?           12/09/15
          SE
          Grand Rapids, MI 49546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 16 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 16 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.4
 7        Fingerhut                                                  Last 4 digits of account number       0138                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 01/19 Last Active
          Po Box 1250                                                When was the debt incurred?           02/20
          Saint Cloud, MN 56395
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.4
 8        Fundzio                                                    Last 4 digits of account number                                                      $33,000.00
          Nonpriority Creditor's Name
          6499 N. Powerline Rd. #108                                 When was the debt incurred?
          Fort Lauderdale, FL 33309
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.4
 9        Genesis Bc/Celtic Bank                                     Last 4 digits of account number       7940                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 11/05/18 Last Active
          Po Box 4477                                                When was the debt incurred?           10/17/19
          Beaverton, OR 97076
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 17 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 17 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.5
 0        LoanCare LLC                                               Last 4 digits of account number       2556                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Consumer Solutions Dept                                                                    Opened 03/12 Last Active
          Po Box 8068                                                When was the debt incurred?           10/29/15
          Virginia Beach, VA 23450
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   FHA Real Estate Mortgage


 4.5
 1        LoanCare LLC                                               Last 4 digits of account number       7591                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Consumer Solutions Dept                                                                    Opened 05/17 Last Active
          Po Box 8068                                                When was the debt incurred?           2/23/18
          Virginia Beach, VA 23450
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   FHA Real Estate Mortgage


 4.5
 2        Mammoth Arrowhead                                          Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          2922 Rancho Viejo Road, Suite 203                          When was the debt incurred?
          San Juan Capistrano, CA 92675
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 18 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 18 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.5
 3        Mor Furniture For Less                                     Last 4 digits of account number       2086                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 08/07 Last Active
          6965 Consolidated Way                                      When was the debt incurred?           12/08
          San Diego, CA 92121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.5      New Hampshire Higher Ed/Granite
 4        State Ma                                                   Last 4 digits of account number       5599                                           $10,938.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 07/11 Last Active
          Po Box 2097                                                When was the debt incurred?           03/20
          Concord, NH 03302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.5
 5        Nordstrom FSB                                              Last 4 digits of account number       8161                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 06/17 Last Active
          Po Box 6555                                                When was the debt incurred?           11/22/19
          Englewood, CO 80155
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 19 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 19 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.5
 6        Ocwen Loan Servicing, LLC                                  Last 4 digits of account number       4811                                             Unknown
          Nonpriority Creditor's Name
          1661 Worthington Road                                                                            Opened 11/06 Last Active
          Suite 100                                                  When was the debt incurred?           2/01/17
          West Palm Beach, FL 33409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Real Estate Mortgage


 4.5
 7        Ocwen Loan Servicing, LLC                                  Last 4 digits of account number       4811                                                   $0.00
          Nonpriority Creditor's Name
          1661 Worthington Road                                                                            Opened 2/01/17 Last Active
          Suite 100                                                  When was the debt incurred?           8/01/17
          West Palm Beach, FL 33409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Real Estate Mortgage


 4.5
 8        OneMain Financial                                          Last 4 digits of account number       3637                                             $6,371.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 01/19 Last Active
          Po Box 3251                                                When was the debt incurred?           2/29/20
          Evansville, IN 47731
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 20 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 20 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.5
 9        Paychex                                                    Last 4 digits of account number       0059                                               $959.00
          Nonpriority Creditor's Name
          P.O. Box 1500                                              When was the debt incurred?
          Henrietta, NY 14467
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.6
 0        Paychex                                                    Last 4 digits of account number       0279                                               $389.00
          Nonpriority Creditor's Name
          P.O. Box 1500                                              When was the debt incurred?
          Henrietta, NY 14467
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.6
 1        RC Willey Home Furnishings                                 Last 4 digits of account number       5209                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 04/98 Last Active
          Po Box 410429                                              When was the debt incurred?           8/03/05
          Salt Lake City, UT 84141
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 21 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 21 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.6
 2        Sda/indepe                                                 Last 4 digits of account number       2ED4                                                   $0.00
          Nonpriority Creditor's Name
                                                                                                           Opened 05/17 Last Active
                                                                     When was the debt incurred?           01/18
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Secured


 4.6
 3        Sofi Lending Corp                                          Last 4 digits of account number       2580                                           $54,788.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 07/16 Last Active
          375 Healdsburg Avenue Suite 280                            When was the debt incurred?           3/11/20
          Healdsburg, CA 95448
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured


 4.6
 4        Synchrony Bank/ JC Penneys                                 Last 4 digits of account number       3406                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 11/94 Last Active
          Po B 965064                                                When was the debt incurred?           04/15
          Orkando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 22 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 22 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.6
 5        Synchrony Bank/Amazon                                      Last 4 digits of account number       2818                                             $1,789.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 05/15 Last Active
          Po Box 965060                                              When was the debt incurred?           10/10/19
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.6
 6        Synchrony Bank/Gap                                         Last 4 digits of account number       7427                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                                                            Opened 4/27/08 Last Active
          Po Box 965060                                              When was the debt incurred?           5/04/14
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.6
 7        Synchrony Bank/Old Navy                                    Last 4 digits of account number       6040                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                                                            Opened 11/03/11 Last Active
          Po Box 965060                                              When was the debt incurred?           2/29/16
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 23 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 23 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.6
 8        Synchrony Bank/Old Navy                                    Last 4 digits of account number       2041                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept                                                                            Opened 11/03/11 Last Active
          Po Box 965060                                              When was the debt incurred?           1/07/15
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.6
 9        Titan Alarm                                                Last 4 digits of account number       1855                                               $229.00
          Nonpriority Creditor's Name
          875 E. Covey Ln. Ste 103                                   When was the debt incurred?
          Phoenix, AZ 85024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.7
 0        Us Bank                                                    Last 4 digits of account number       8502                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 05/13 Last Active
          Po Box 5229                                                When was the debt incurred?           4/07/15
          Cincinnati, OH 45201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 24 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 24 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.7      US Secret Service Phoenix Field
 1        Office                                                     Last 4 digits of account number                                                     $140,000.00
          Nonpriority Creditor's Name
          3200 N. Central Ave. #1450                                 When was the debt incurred?
          Phoenix, AZ 85012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection for Zima Digital Assets


 4.7
 2        USB Equipment Finance                                      Last 4 digits of account number       2000                                               $321.00
          Nonpriority Creditor's Name
          1 MacArthur Place Ste. 350                                 When was the debt incurred?
          Santa Ana, CA 92707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.7
 3        USB Equipment Finance                                      Last 4 digits of account number       5000                                             $2,170.00
          Nonpriority Creditor's Name
          1 MacArthur Place Ste. 350                                 When was the debt incurred?
          Santa Ana, CA 92707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 25 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 25 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.7
 4        USB Equipment Finance                                      Last 4 digits of account number       8001                                                 $85.00
          Nonpriority Creditor's Name
          1 MacArthur Place Ste. 350                                 When was the debt incurred?
          Santa Ana, CA 92707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.7
 5        USB Equipment Finance                                      Last 4 digits of account number       1000                                               $369.00
          Nonpriority Creditor's Name
          1 MacArthur Place Ste. 350                                 When was the debt incurred?
          Santa Ana, CA 92707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify



 4.7      Utah Higher Education Assistance
 6        Authori                                                    Last 4 digits of account number       0005                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 8/23/07 Last Active
          Po Box 145110                                              When was the debt incurred?           7/20/11
          Salt Lake City, UT 84114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 26 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 26 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.7      Utah Higher Education Assistance
 7        Authori                                                    Last 4 digits of account number       0004                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 8/30/06 Last Active
          Po Box 145110                                              When was the debt incurred?           7/20/11
          Salt Lake City, UT 84114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational

 4.7      Utah Higher Education Assistance
 8        Authori                                                    Last 4 digits of account number       0003                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 8/22/05 Last Active
          Po Box 145110                                              When was the debt incurred?           7/20/11
          Salt Lake City, UT 84114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational

 4.7      Utah Higher Education Assistance
 9        Authori                                                    Last 4 digits of account number       0002                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 8/23/04 Last Active
          Po Box 145110                                              When was the debt incurred?           7/20/11
          Salt Lake City, UT 84114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 27 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 27 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.8      Utah Higher Education Assistance
 0        Authori                                                    Last 4 digits of account number       0001                                                   $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 2/06/04 Last Active
          Po Box 145110                                              When was the debt incurred?           7/20/11
          Salt Lake City, UT 84114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Educational
 4.8
 1        Utility Self-reported                                      Last 4 digits of account number       751E                                               $152.00
          Nonpriority Creditor's Name
          Po Box 4500                                                When was the debt incurred?           Last Active 3/19/20
          Allen, TX 75013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Agriculture Chkg/Arizonapublicserviceelect


 4.8
 2        Utility Self-reported                                      Last 4 digits of account number       D94C                                                 $50.00
          Nonpriority Creditor's Name
          Po Box 4500                                                When was the debt incurred?           Last Active 12/27/19
          Allen, TX 75013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Agriculture Chkg/Southwestgas




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 28 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 28 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)         2:20-bk-04911-BKM

 4.8
 3         Wedbush Securities                                        Last 4 digits of account number                                                      $31,000.00
           Nonpriority Creditor's Name
           1000 Wilshire Blvd                                        When was the debt incurred?
           Los Angeles, CA 90017
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Arbitration Award


 4.8
 4         Wells Fargo Dealer Services                               Last 4 digits of account number       1821                                                   $0.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                                                                Opened 09/15 Last Active
           1100 Corporate Center Drive                               When was the debt incurred?           6/04/16
           Raleigh, NC 27607
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Automobile


 4.8
 5         Wells Fargo Jewelry Advantage                             Last 4 digits of account number       4853                                             $1,000.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                                                                Opened 05/19 Last Active
           Po Box 10438                                              When was the debt incurred?           3/06/20
           Des Moines, IA 50306
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 29 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                          Desc
                                                               Main Document    Page 29 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                            Case number (if known)          2:20-bk-04911-BKM

   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Abrazo Arrowhead Campus                                       Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 745823                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Los Angeles, CA 90074
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 FINRA Office of Dispute Resolution                            Line 4.83 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 300 S. Grand Avenue, Ste 1700                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Los Angeles, CA 90071
                                                               Last 4 digits of account number                    2404

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Paychex of New York LLC                                       Line 4.60 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1020 Discovery Rd. Ste 180                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Paul, MN 55121
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PC Marketplace, LLC                                           Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 c/o Corporation Service Company                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 251 Little Falls Drive
 Wilmington, DE 19808
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The Moore Law Group                                           Line 4.45 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2702 N. 3rd St. Ste 2010                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Phoenix, AZ 85004
                                                               Last 4 digits of account number                    6257

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Bank Equipment Finance                                     Line 4.72 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO BOX 790448                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louis, MO 63179
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Bank Equipment Finance                                     Line 4.75 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1310 Madrid St. Ste 101                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Marshall, MN 56258
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wedbush Securities                                            Line 4.83 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 ATTN: Charles LaChaussee                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 1000 Wilshire Blvd.
 Los Angeles, CA 90017
                                                               Last 4 digits of account number                    2404

 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 30 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                                                  Desc
                                                               Main Document    Page 30 of 31
 Debtor 1 Arthur S. Hoffman
 Debtor 2 Kimberly A. Hoffman                                                                        Case number (if known)    2:20-bk-04911-BKM

                                                                                                                        Total Claim
                        6f.   Student loans                                                            6f.      $                10,938.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $             1,674,301.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $             1,685,239.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 31 of 31
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           Case 2:20-bk-04911-BKM                              Doc 25 Filed 07/02/20 Entered 07/02/20 16:19:44                               Desc
                                                               Main Document    Page 31 of 31
